                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                 SOUTHERN DIVISION

DAVID STEBBINS,                                         )
                                                        )
                                 Plaintiff,             )
                                                        )
v.                                                      ) Case No. 10-3305-CV-S-RED
                                                        )
RELIABLE HEAT & AIR, LLC, et al.,                       )
                                                        )
                                 Defendants.            )

                                               ORDER

       The Court held a telephone conference on April 22, 2011, at 4:00 p.m. For reasons discussed

during the telephone conference, the Court:

       1.       DENIED Plaintiff’s Objection to Defense’s Presence in Telephone Conference

                (Doc. 73);

       2.       DENIED Plaintiff’s Motion to Confirm Arbitration Award (Doc. 70); and

       3.       GRANTED Defendants’ Motion for Hearing Plaintiff’s Objections to Defendants’

                First Interrogatories (Doc. 76) to the extent it called for the Court to rule on

                Plaintiff’s objections to Defendants’ First Interrogatories. The Court overruled

                Plaintiff’s objections with regard to the following interrogatories: 2, 3, 4, 5, 6, 7, 10,

                11, 12, 13, 14, and 15. Plaintiff shall respond to those 12 interrogatories on or before

                May 13, 2011. The Court sustained Plaintiff’s objection to interrogatory 8.

       IT IS SO ORDERED.

DATED:          April 25, 2011                   /s/ Richard E. Dorr
                                                RICHARD E. DORR, JUDGE
                                                UNITED STATES DISTRICT COURT




            Case 6:10-cv-03305-RED Document 90 Filed 04/26/11 Page 1 of 1
